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 7
 8                             UNITED STATES BANKRUPTCY COURT
 9
                   WESTERN DISTRICT OF WASHINGTON—TACOMA DIVISION
10
11   IN RE:                                           Case No.: 19-41717-MJH
12   FRANK DELAND COBB AKA FRANKLIN
     DELAND COBB AND GAYSHA SANDY
13   COBB AKA GAYSHA SPEARS,                          Chapter 13
14
15                                                    OBJECTION TO CONFIRMATION OF
                    Debtors.                          CHAPTER 13 PLAN
16
17            Secured Creditor Specialized Loan Servicing, LLC, as servicer for Federal Home Loan
18   Corporation, as Trustee for the benefit of the Seasoned Credit Risk Transfer Trust, Series 2019-1
19
     (“Creditor”), respectfully submits its Objection to Confirmation of Chapter 13 Plan (“Plan”), of
20
21   Debtors Frank Deland Cobb aka Franklin Deland Cobb and Gaysha Sandy Cobb aka Gaysha
22
     Spears (“Debtors”).
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24            I.           Statement of Facts.
25            1.    On May 25, 2019, Debtor filed a voluntary Chapter 13 petition.
26
              2.    Michael G. Malaier is the duly qualified and acting Chapter 13 Trustee.
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              3.    On or about March 30, 2000, Debtor Frank D. Cobb, for valuable consideration,
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     made, executed, and delivered to Norwest Mortgage, Inc. (“Norwest”), a written Note (“Note”).
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30   Pursuant to the terms of the Note, Debtor agreed to repay the sum of $58,500.00 with annual
31   interest at 8.75% in three hundred and sixty (360) monthly payments of $460.22 commencing on
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     OBJECTION TO CONFIRMATION OF CHAPTER 13 PLAN - 1
 1   May 1, 2000, and continuing thereafter on the 1st day of each succeeding month until April 1,
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     2030, at which time all amounts due and owing under the Note are to be paid in full.
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             4.     As security for the Note and as part of the same transaction, Debtor made,
 4
 5
     executed, and delivered to Norwest a Deed of Trust (“Deed of Trust”), granting Norwest

 6   beneficial interest in the real property commonly known as 2012 East Gregory Street, Tacoma,
 7   WA 98421 (“Property”). The Note and Deed of Trust have been duly assigned to Creditor.
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             5.     Debtor defaulted under the terms of the Note and Deed of Trust and on or about
 9
     July 10, 2014, for valuable consideration, made, executed, and delivered to Creditor a Loan
10
11
     Modification Agreement (“Loan Modification”).

12           6.     Debtor has defaulted in the payments due under the Note and Deed of Trust and
13   Loan Modification. Prepetition arrears now exist in the approximate amount of $1,029.15. The
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     total amount due and owing under the Note as of May 25, 2019, is $47,059.99 and the current
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     monthly payment due is $885.32.
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             7.     On May 25, 2019, Debtors filed their proposed Chapter 13 Plan. Pursuant to

18   Debtors’ proposed Chapter 13 Plan, Debtors do not provide for prepetition arrears to Creditor
19   and provide a post-petition payment amount of only $650.00.
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             II.    Understatement of Arrears and understatement of post-petition payment.
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             8.     In their proposed Chapter 13 Plan, Debtors do not provide for prepetition arrears
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     to Creditor. Prepetition arrears exist in the approximate amount of $1,029.15. Debtors should be
23
24   required to provide for payment of all prepetition arrears as a condition to confirmation of their
25   Chapter 13 plan.
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             9.     Debtors provide a post-petition payment amount of only $650.00. The current
27
     post-petition payment amount is $885.32. Debtors should be required to provide for payment of
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     Creditor’s full post-petition payment amount as a condition to confirmation of their Chapter 13
29
30   plan.
31   ///
32
     ///

     OBJECTION TO CONFIRMATION OF CHAPTER 13 PLAN - 2
 1         WHEREFORE, based upon the foregoing, Creditor respectfully requests that:
 2
           1. Confirmation of Debtors’ proposed Chapter 13 Plan be denied; or
 3
 4         2. The case be dismissed; and
 5         3. Such further relief as the Court deems just and proper.
 6
 7
     Dated: June 21, 2019                       Respectfully submitted,
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 9
10                                              /s/Jason C. Tatman__
                                                Jason C. Tatman, Esq.
11                                              Attorney for Secured Creditor
12
                                                Specialized Loan Servicing, LLC, as servicer for
                                                Federal Home Loan Corporation, as Trustee for the
13                                              benefit of the Seasoned Credit Risk Transfer Trust,
                                                Series 2019-1
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     OBJECTION TO CONFIRMATION OF CHAPTER 13 PLAN - 3
 1                                    CERTIFICATE OF SERVICE
 2           I am employed in the county of San Diego, California. My business address is 5677

 3   Oberlin Drive, Suite 210, San Diego, CA 92121. I am over the age of eighteen years and not a

 4   party to this action.

 5           On June 21, 2019, I served the Objection to Confirmation of Chapter 13 Plan on the

 6   interested parties in this action by placing a true and correct copy thereof enclosed in a sealed

 7   envelope with postage thereon fully prepaid in the United States mail at Encinitas, CA, as
     follows:
 8
     (X)     (BY REGULAR MAIL) I caused such envelope(s) with postage thereon fully prepaid to
 9
     be placed in the United States mail at Encinitas, CA. I am “readily familiar” with this firm’s
10
     practice of collection and processing of correspondence for mailing. It is deposited in the U.S.
11
     Postal Service on that same day in the ordinary course of business. I am aware that on motion of
12
     the party served, service is presumed invalid if the cancellation date or the postage meter date is
13
     more than 1 day after date of deposit for mailing affidavit.
14
     (X)     (FEDERAL) I declare under penalty of perjury under the laws of the United States of
15
     America that the above is true and correct.
16
             Executed on June 21, 2019, at Encinitas, CA.
17
18
                                                           /s/ Darren J. Devlin__
19                                                         Darren J. Devlin, Esq.

20   Frank Deland Cobb
     Gaysha Sandy Cobb
21   3917 29th Ave. Ct. E
22   Tacoma, WA 98404

23   Ellen Ann Brown
     744 S. Fawcett Ave.
24   Tacoma, WA 98402
25
     Michael G. Malaier
26   via ecf only

27
28
                                                 1
                                       CERTIFICATE OF SERVICE
